             Case 2:19-cv-01987-RSM Document 257 Filed 04/18/22 Page 1 of 3




 1                                                                 The Honorable Ricardo S. Martinez
 2

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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8
     RUSSELL H. DAWSON,
 9
                                                          NO. 2:19-cv-01987-RSM
10                             Plaintiff,

11          vs.                                           STIPULATION FOR AND ORDER
                                                          OF DISMISSAL
12   NAPHCARE, INC., et al;
13                             Defendants.
14
                                             STIPULATION
15
            The undersigned Plaintiff’s attorney certifies that the requirements relating to the minors’
16
     funds, set forth in the Order Granting Joint Petition to Approve NaphCare Settlement, Dkt. 249,
17
     have been completed.
18

19          IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff and

20   NAPHCARE, INC., REBECCA VILLACORTA, HENRY TAMBE, NANCY WHITNEY,
21   BILLIE STOCKTON, BRITTANY MARTIN, BROOKE WALLACE, SALLY MUKWANA,
22
     JOAN KOSANKE and RITA WHITMAN, that all claims against Defendants may be dismissed
23
     with prejudice and without assessment by the Court of costs or attorneys’ fees to either party.
24

25
            Respectfully submitted this 7th day of April, 2022.
26

27                                                                       KRUTCH LINDELL BINGHAM JONES, P.S.
                                                                                    3316 Fuhrman Ave E
     STIPULATION FOR AND ORDER OF DISMISSAL - 1                                            Suite 250
                                                                                  Seattle, Washington 98102
     2:19-cv-01987-RSM                                                      TEL. 206.682.1505  FAX 206.467.1823
              Case 2:19-cv-01987-RSM Document 257 Filed 04/18/22 Page 2 of 3




 1
       KRUTCH LINDELL BINGHAM JONES,                    WILLIAMS KASTNER
 2     P.S.
 3
       By: /s/ J. Nathan Bingham                        By: /s/ Heidi Mandt
 4     J. Nathan Bingham, WSBA #46325                   Heidi Mandt, WSBA #26880
       3316 Fuhrman Ave E, Suite 250                    1515 SW Fifth Avenue, Suite 600
 5     Seattle, Washington 98102                        Portland, OR 97201-5449
       Telephone: (206) 682-1505                        Telephone: (503) 228-7967
 6
       Facsimile: (206) 467-1823                        Facsimile: (503) 222-7261
 7     Email: jnb@krutchlindell.com                     Email: hmandt@williamskastner.com

 8     Attorneys for Plaintiff                          Attorneys for Defendants

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10
                                                 ORDER
11
             PURSUANT TO THE FOREGOING STIPULATION, IT IS ORDERED that Plaintiff’s
12
     claims against NAPHCARE, INC., REBECCA VILLACORTA, HENRY TAMBE, NANCY
13

14   WHITNEY, BILLIE STOCKTON, BRITTANY MARTIN, BROOKE WALLACE, SALLY

15   MUKWANA, JOAN KOSANKE and RITA WHITMAN, as described in the above Stipulation,

16   are dismissed with prejudice and without assessment by the Court of costs or attorneys’ fees to
17   either party.
18
             DATED this 18th day of April, 2022.
19

20

21

22                                                 A
                                                   RICARDO S. MARTINEZ
23                                                 CHIEF UNITED STATES DISTRICT JUDGE

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27                                                                      KRUTCH LINDELL BINGHAM JONES, P.S.
                                                                                   3316 Fuhrman Ave E
     STIPULATION FOR AND ORDER OF DISMISSAL - 2                                           Suite 250
                                                                                 Seattle, Washington 98102
     2:19-cv-01987-RSM                                                     TEL. 206.682.1505  FAX 206.467.1823
             Case 2:19-cv-01987-RSM Document 257 Filed 04/18/22 Page 3 of 3




       Presented by:
 1

 2     KRUTCH LINDELL BINGHAM JONES, P.S.

 3     s/ J. Nathan Bingham, WSBA #46325
       J. Nathan Bingham, WSBA #46325
 4     Jeffrey C. Jones, WSBA #7670
       James T. Anderson, WSBA #40494
 5
       Matthew K. Clarke, pro hac vice
 6     3316 Fuhrman Ave E
       Suite 250
 7     Seattle, Washington 98102
       Telephone: (206) 682-1505
 8     Facsimile: (206) 467-1823
       Email: jnb@krutchlindell.com
 9
       jcj@krutchlindell.com
10     jta@krutchlindell.com
       mkc@krutchlindell.com
11
       TERRELL MARSHALL LAW GROUP PLLC
12
       s/Toby J. Marshall, WSBA #32726
13
       Toby J. Marshall, WSBA #32726
14     936 North 34th Street, Suite 300
       Seattle, Washington 98103-8869
15     Telephone: (206) 816-6603
       Facsimile: (206) 319-5450
16     Email: tmarshall@terrellmarshall.com
17
       Attorneys for Plaintiffs
18

19

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21

22

23

24

25

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27                                                        KRUTCH LINDELL BINGHAM JONES, P.S.
                                                                     3316 Fuhrman Ave E
     STIPULATION FOR AND ORDER OF DISMISSAL - 3                             Suite 250
                                                                   Seattle, Washington 98102
     2:19-cv-01987-RSM                                       TEL. 206.682.1505  FAX 206.467.1823
